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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ABUBAKARR FORAY-MUSA,                             :
                                                   :              CIVIL ACTION
                v.                                 :
                                                   :              NO. 23-1574-JMY
 TEMPLE UNIVERSITY,                                :


                                             ORDER

       AND NOW, this 18th day of September, 2023, it having been reported that the issues

between the parties in the above action have been settled and upon Order of the Court pursuant

to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

ORDERED that the above-captioned action is DISMISSED with prejudice, pursuant to the

agreement of counsel without costs.



                                              GEORGE WYLESOL, Clerk of Court

                                              By: /s/ Dedra Brannan
                                                  Dedra Brannan, Civil Deputy Clerk to
                                                  The Honorable John Milton Younge
